                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                            Bankruptcy Case No.: 15−51396−cag
                                                                    Chapter No.: 11
                                                                          Judge: Craig A. Gargotta
IN RE: Primera Energy, LLC , Debtor(s)




                                        NOTICE OF HEARING


PLEASE TAKE NOTICE that a hearing will be held


     at    S.A. Courtroom 3, Hipolito F. Garcia Fed Bldg & Courthouse, 615 E. Houston St., San Antonio, TX
           78205

     on    7/9/15   at   10:00 AM

     Hearing to Consider and Act Upon the Following: (IF TIME ESTIMATE EXCEEDS 20 MINUTES, PLEASE
     E−MAIL LISA ELIZONDO AT: lisa_elizondo@txwb.uscourts.gov) (Related Document(s): 32 Motion to
     Convert Case From Chapter 11 to Chapter 7 ( Filing Fee: $ 15.00 ) filed by James W Rose Jr for U.S. Trustee
     United States Trustee − SA12 (Attachments: # 1 Proposed Order)) Hearing Scheduled For 7/9/2015 at 10:00
     AM at SA Courtroom 3 (Elizondo, Lisa)




Dated: 6/16/15
                                                           Yvette M. Taylor
                                                           Clerk, U. S. Bankruptcy Court




                                                                                           [Hearing Notice (BK)] [NtchrgBKapac]
